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UNITED STATES DISTRICT COURT 0/183
CENTRAL DISTRICT OF CALIFORNIA = 82 Only

WESTERN DIVISION

WILLIAM PUTNAM, et al,
Plaintiffs,

No CV 07-3656-JFW (PLAx)
MEMORANDUM AND ORDER RE:

PARTIES’ PROPOSED STIPULATED
Vv PROTECTIVE ORDER
ELI LILLY AND COMPANY,

Defendants

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The Court has received and considered the parties’ proposed Stipulated Protective Order
(“Protective Order”). The Court is unable to adopt the Protective Order as stipulated to by the
parties for the followings reasons:

First, in the event of a dispute regarding the designation or disclosure of confidential
information, or disclosure of executed endorsements of the Protective Order, the procedure for
obtaining a decision from the Court is that set forth in Local Rule 37 (See pages 7-8, at §j 7,
pages 8-9, at f[ 9(a), pages 9-10, at J 10(c), page 11, at J 13). If the parties want to file the Joint
Stipulation required by Local Rule 37 under seal, the parties may file a stipulation to that effect
or the moving party may file an ex parte application making the appropriate request The parties

must set forth good cause in the stipulation or ex parte application as to why the Joint Stipulation

or portions thereof should be filed under seal.

 

 
 

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Second, once a case proceeds to trial, all of the information that was designated as
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confidential and/or kept and maintained pursuant to the terms of a protective order becomes
public and will be presumptively available to all members of the public, including the press, inless

gocd cause is shown to the district judge in advance of the trial to proceed otherwise. The Court

will not enter a protective order that extends beyond the commencement of trial.

DATED August \3 , 2007 f j-:
PAUL L. ABRAMS
UNITED STATES MAGISTRATE JUDGE

 

 
